             Case 2:05-cr-00381-TSZ             Document 46      Filed 01/19/06        Page 1 of 1



 1

 2

 3

 4

 5                             UNITED STATES DISTRICT COURT
                         for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                          )
                                                         )
 8                                 Plaintiff,            )
 9                           vs.                         )
                                                         )                CR05-381 TSZ
10
      JOSHUA KEBEDE,                                     )
11                                                       )
                                   Defendant.            )        ORDER TRANSFERRING
12                                                                    HEARING
13

14          The Honorable Thomas S. Zilly, United States District Judge, has informed this court of a

15   motion pending on his docket (Motion for Contact with Certain Persons, dkt #35) related to the

16   petition filed by Pretrial Services (dkt #37). Judge Zilly has requested the hearing scheduled in

17   this court on February 13, 2006, be transferred to his docket.

18          Therefore, the parties will appear before the Honorable Thomas S. Zilly, United States

19   District Judge, at 9:30am on February 13, 2006 in Courtroom 15206, to argue the Motion for

20   Contact as well as the allegations contained in the Pretrial Services petition.

21

22                                          Dated this 19th day of January, 2006




                                            A
23

24

25                                          Mary Alice Theiler
                                            U.S. Magistrate Judge
26
